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6    Rudis Valladares Caceres
7
                                  UNITED STATES DISTRICT COURT
8
                                 NOTHERN DISTRICT OF CALIFORNIA
9
                                      SAN FRANCISCO DIVISION
10

11
     UNITED STATES OF AMERICA,                                Case No.: CR 19-367 CRB
12
                    Plaintiff,
13                                                            DEFENDANT’S SENTENCING
            vs.                                               MEMORANDUM
14
     RUDIS VALLADERES CACERES,                                Date: March 11, 2019
15                                                            Time: 2:00 p.m.
                    Defendant                                 Honorable Charles R. Breyer
16

17
            Defendant Rudis Valladares Caceres respectfully submits the following sentencing
18
     memorandum and requests that the Court vary downward and impose a sentence of time served.
19
                                            INTRODUCTION
20
            Rudis Valladares Caceres was one of the roughly forty defendants in the various Viera-
21
     Chirinos set of cases, all of which are part of the same investigation and have been related
22
     before this Court. Mr. Valladares is among the lowest culpability of these various defendants.
23
            On February 12, 2020, he entered a guilty plea to a single violation of 21 U.S.C. § 843(b)
24
     (illegal use of a communication facility), along with three of defendants whose plea agreements
25
     mirror his own. One of his co-defendants – Yordi Yabier Agurcia Galindo – was also sentenced
26
     on that date, to time served. As the government’s various status memoranda (filed on 1/27/20)
27
     illustrate, there are only a few defendants whose drug quantity is lower than that of Mr.
28
     Valladeres’. The government even concedes that his role in the offense – being granted housing



     DEFENDANT’S SENTENCING MEMORANDUM                                                                 1
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1    in exchange for selling small street-level quantities of drugs – is at least “minor” under the
2    Sentencing Guidelines (see § USSG 3B1.2). Indeed, the only issue at sentencing other than the
3    ultimate sentence is whether he is deemed “minor” or “minimal” under that Guidelines section.
4    Mr. Valladares has been in custody for approximately seven and a half months. The government
5    requests a sentence of thirteen months, which would equate to approximately eleven months of
6    custody. Those additional three months of custody are neither appropriate nor warranted. Mr.
7    Valladares, whose only family in this country left some months after he arrived, was homeless
8    and unemployed. He was offered housing, but with a requirement to sell street level amounts of
9    drugs. He has already been sent a strong message about drug dealing; he will be deported back
10   to Honduras, a country ravaged by crime, poverty, and instability. Additional time in jail is not
11   necessary. A sentence of time served should be imposed.
12                                      ROLE IN THE OFFENSE
13          The parties agree on all Guidelines calculations except whether Mr. Valladares is
14   deemed “minor” or “minimal” under section 3B1.2 of the Sentencing Guidelines. To make this
15   factual determination, the government directs the Court to Mr. Valladares’ plea agreement, as
16   well as the complaint in 3-19-71206 EDL, which accurately describes his role as a street level
17   dealer who was required to sell small amounts of drugs in exchange for housing.
18          The government conducted an extensive investigation that spanned a year or more.
19   Numerous wiretaps were ordered, with thousands of phone calls intercepted. Hundreds of
20   reports were authored. That Mr. Valladares is such a low-level player is illustrated through the
21   limited number of calls in which he participates and the relatively small quantity of drugs for
22   which he is responsible under the Guidelines.
23          Application notes 3(C) and 4 to 3B1.2 are instructive for this determination and
24   highlights a non-exhaustive list of factors to be considered:
25          (i)     the degree to which the defendant understood the scope and structure of the
                    criminal activity;
26
            (ii)    the degree to which the defendant participated in planning or organizing the
27                  criminal activity;
            (iii)   the degree to which the defendant exercised decision-making authority or
28                  influenced the exercise of decision-making authority;



     DEFENDANT’S SENTENCING MEMORANDUM                                                                   2
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1           (iv)     the nature and extent of the defendant’s participation in the commission of the
                     criminal activity, including the acts the defendant performed and the
2
                     responsibility and discretion the defendant had in performing those acts;
3           (v)      the degree to which the defendant stood to benefit from the criminal activity.

4    Application note 4 further indicates that the “minimal” designation “is intended to cover
5    defendants who are plainly among the least culpable of those involved in the conduct of a group.
6    Under this provision, the defendant’s lack of knowledge or understanding of the scope and
7    structure of the enterprise and of the activities of others is indicative of a role as minimal
8    participant.”
9           There is no evidence that Mr. Valladares understood the larger scope or structure of this
10   drug conspiracy. He certainly was not engaged in any planning or organizing. Nor did he
11   exercise any decision-making authority; rather, he would receive small amounts of drugs that he
12   was required to sell on the streets. Finally, the degree to which he stood to benefit – presumably
13   continued free housing – was minimal. In short, he is “plainly among the least culpable” of the
14   various defendants in these related cases. The government’s various status memoranda illustrate
15   that and the plea agreement and evidence of his criminal conduct proves that fact.
16          The Court should find his role in the offense “minimal” and apply a four-point reduction
17   in the Guidelines. The resulting Guidelines range would therefore be 18-24 months.
18                        PERSONAL HISTORY AND CHARACTERISTICS
19          Rudis Valladares Caceres is Honduran, as are most of the defendants in this case. He left
20   Honduras for safety and economic reasons. Various family members had been killed by gang
21   members and due to a long running feud with another family in his village. His parents, both of
22   whom are farmworkers, are poor. He could not complete school and had few prospects for
23   employment. He left Honduras and looked for work in Nicaragua and Mexico before making
24   the long and dangerous journey here. He will almost certainly be deported and, as a result of
25   this country, be precluded from receiving status here. In short, he will be banished back to the
26   dangerous and dire circumstances that led him (and many others in his position) to make the
27   unsafe and uncertain journey here in hopes of a better life. Rudis will not (and did not) realize
28   that hope, at least here, and the chances of safety and success in Honduras are low.



     DEFENDANT’S SENTENCING MEMORANDUM                                                                   3
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1               Honduras is among the poorest countries in Latin America. As the Congressional
2    Research Service report, “Honduras: Background and U.S. Relations” (July 22, 2019)1 indicates,
3               Democratic institutions are fragile, current economic growth rates and social policies are
                insufficient to reduce widespread poverty, and the country continues to experience some
4
                of the highest violent crime rates in the world. These interrelated challenges have
5               produced periodic instability in Honduras and have contributed to relatively high levels
                of displacement and emigration in recent years.
6               Honduras struggles with high levels of crime and violence. A number of interrelated
7
                factors appear to contribute to the poor security situation. Widespread poverty,
                fragmented families, and a lack of education and employment opportunities leave many
8               Honduran youth susceptible to recruitment by gangs such as the Mara Salvatrucha (MS-
                13) and Barrio 18. These organizations engage in drug dealing and extortion, among
9               other criminal activities, and appear to be responsible for a substantial portion of
10
                homicides and much of the crime that affects citizens on a day-to-day basis.

11              Rudis Valladares Caceres will return to living in a country where he will be subject
12   violence and have minimal prospects for employment. He will forever be precluded from

13   returning to the U.S. In short, the consequences for his actions in this case will extend beyond

14
     the custody term imposed in this case.
                                        SENTENCING CONSIDERATIONS
15
                In determining a reasonable and appropriate sentence, the Court must consider those
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     factors set forth in 18 U.S.C. 3553(a), including the nature and circumstances of the offense and
17
     the history and characteristics of the defendant. The Guidelines are advisory, Gall v. United
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     States, 552 U.S. 38, 46-47 (2007), and there is no presumption in favor of a Guidelines’
19
     calculation. (Nelson v. United States, 555 U.S. 350, 352 (2009) (citation omitted) (“Our cases do
20
     not allow a sentencing court to presume that a sentence within the applicable Guidelines range is
21
     reasonable. In Rita we said as much, in fairly explicit terms: “‘[T]he sentencing court does not
22
     enjoy the benefit of a legal presumption that the Guidelines sentence should apply.’”). The
23
     District Court is thus not required to use a formulaic approach to produce a mathematical
24
     justification for a non-Guidelines sentence. (Gall, 128 S.Ct at 596.). Rather, it must exercise a
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     “reasoned sentencing judgment, resting upon an effort to filter the Guidelines’ general advice
26
     through § 3553(a)’s list of factors. (Rita v. United States, 127 S. Ct. 2456, 2469 (2007).). In
27

28

     1
         See https://fas.org/sgp/crs/row/RL34027.pdf


     DEFENDANT’S SENTENCING MEMORANDUM                                                                   4
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1    short, the District Court’s duty is to impose the least amount of time necessary to achieve
2    3553(a)’s purposes. The Guidelines are subordinate to that duty.
3           A sentence of time served is sufficient custodial punishment to be imposed on Mr.
4    Valladares. It is a lengthy custodial term; he will be deported and precluded entry into this
5    country in the future; he will return to a home plagued by violence and economic strife.
6    Moreover, such a sentence would avoid unwarranted sentencing disparities among similarly
7    situated codefendants in this case. As a result, it is “sufficient but not greater than necessary” to
8    achieve the purpose of sentencing set forth in 18 U.S.C. § 3553(a).
9                                              CONCLUSION
10          For all these reasons, as well as those to be presented at the sentencing hearing in this
11   case, Mr. Valladares requests that the Court find him a “minimal participant” and impose a term
12   of imprisonment of “time served.”
13
                                                            Respectfully Submitted,
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                                                            Law Office of Adam Pennella
15

16   Dated: March 9, 2020                                                 /s/
                                                            Adam Pennella
17                                                          Counsel for Rudis Valladares Caceres
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     DEFENDANT’S SENTENCING MEMORANDUM                                                                   5
